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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


   DONALD J. TRUMP, in his capacity
    as former President of the United States,

                              Plaintiff,

                         v.
                                                          No. 1:21-cv-2769 (TSC)
   BENNIE G. THOMPSON, in his official
    capacity as Chairman of the Select
    Committee to Investigate the January 6th
    Attack on the United States Capitol, United
    States House of Representatives, et al.,

                              Defendants.


                                  [PROPOSED] ORDER
         Having considered Plaintiff’s Motion for a Preliminary Injunction, ECF No. 5, and

the oppositions thereto, it is hereby

         ORDERED that Plaintiff’s Motion is denied.

         SO ORDERED.


Dated:                                     ___________________
                                           Hon. Tanya S. Chutkan
                                           United States District Judge
